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                                                                           Pg 1 of 37
Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Hamilton Center LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  49 West 37th Street, 9th fl.
                                  New York, NY 10018
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  New York                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor
                                                                               Pg 2 of 37    Case number (if known)
          Hamilton Center LLC
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
                                        Chapter 9
                                          Chapter 11. Check all that apply:
                                                             Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12


9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                           Case number
                                                 District                                 When                           Case number


10. Are any bankruptcy cases            No
    pending or being filed by a
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor     Cypress Way LLC                                             Relationship               Affiliate
                                                 District   SDNY                          When    3/15/17               Case number, if known      17-22383




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
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Debtor
                                                                         Pg 3 of 37    Case number (if known)
         Hamilton Center LLC
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                                                                    5001-10,000                               50,001-100,000
                                 50-99
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor
                                                                          Pg 4 of 37    Case number (if known)
          Hamilton Center LLC
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      May 22, 2018
                                                  MM / DD / YYYY


                             X   /s/ David Goldwasser                                                    David Goldwasser
                                 Signature of authorized representative of debtor                        Printed name

                                         Authorized Signatory of GC Realty
                                 Title   Advisors, LLC, Manager




18. Signature of attorney    X   /s/ FRED B. RINGEL                                                       Date May 22, 2018
                                 Signature of attorney for debtor                                              MM / DD / YYYY

                                 FRED B. RINGEL
                                 Printed name

                                 ROBINSON BROG LEINWAND GREENE GENOVESE & GLUCK P.C.
                                 Firm name

                                 875 THIRD AVENUE
                                 New York, NY 10022
                                 Number, Street, City, State & ZIP Code


                                 Contact phone                                   Email address



                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------X

In re:                                                            Chapter 11

HAMILTON CENTER LLC,                                              Case No.:

Debtor.
------------------------------------------------------X

                                  CERTIFICATE OF RESOLUTION

         I, the undersigned, DAVID GOLDWASSER, as the Managing Member of GC

REALTY ADVISORS, LLC, the Manager of Hamilton Center LLC (the “Company”), do

hereby certify that at a meeting of the Company duly called and held, the following resolutions

were adopted and recorded in the Minute Book of the Company, and they have not been

modified or rescinded, and are still in full force and effect:

                            RESOLVED, that in the judgment of the Company it is
                    desirable and in the best interest of the Company, its creditors,
                    members and other interested parties, that a petition be filed by the
                    Company for relief under Chapter 11 of title 11 of the United
                    States Code (the “Bankruptcy Code”); and it is further

                            RESOLVED, that the form of petition under Chapter 11
                    presented to this meeting is approved and adopted in all respects,
                    and that David Goldwasser, as the Managing Member of GC
                    Realty Advisors, LLC, the Manager of the Company, is authorized
                    to execute and verify a petition substantially in such form and to
                    cause the same to be filed with the United States Bankruptcy Court
                    for the Southern District of New York at such time as he shall
                    determine; and it is further

                             RESOLVED, that David Goldwasser, as the Managing
                    Member of GC Realty Advisors, LLC, the Manager of the
                    Company, is authorized to execute and file all petitions,
                    reorganization schedules, lists and other papers and to effectuate
                    the filing of the Chapter 11 case, and, in that connection, that the
                    firm of Robinson Brog Leinwand Greene Genovese & Gluck P.C.
                    be retained and employed as legal counsel for the Company under
{00934278.DOC;1 }
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                    a general retainer, in addition to such special counsel as may
                    hereafter become necessary or proper with a view to the successful
                    conclusion of such Chapter 11 case.


     IN WITNESS WHEREOF, I have hereunto set my hand and seal of the
Company this 22nd day of May, 2018.


                                          HAMILTON CENTER LLC
                                          By: GC REALTY ADVISORS, LLC AS MANAGER


                                          By: /s/ David Goldwasser
                                             DAVID GOLDWASSER, MANAGING MEMBER
                                             GC REALTY ADVISORS, LLC




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------X

In re:                                                                Chapter 11

HAMILTON CENTER LLC,                                                  Case No. 18-

                                             Debtor.
--------------------------------------------------------------X

                      DECLARATION PURSUANT TO LOCAL RULE 1007

          David Goldwasser, hereby declares under penalty of perjury that the following

statements are true and correct:

           1.    I am the managing member of GC Realty Advisors, LLC the manager of

Hamilton Center LLC, the debtor (the “Debtor”), and am fully familiar with the facts set forth

herein.

           2.    I submit this affirmation in accordance with Local Bankruptcy Rule 1007 in

support of the Debtor’s filing of a voluntary petition under Chapter 11 of Title 11 of the United

States Code (the “Bankruptcy Code”).

           3.    The Debtor is a limited liability company currently under contract to purchase the

real property located in Hamilton, New Jersey (the “Property”). The Property is currently owned

by SunCap Trenton LLC. (the “Seller”). Debtor and Seller entered into a Purchase and Sale

Agreement dated September 15, 2017, as amended (the “Contract”), to sell the Property to the

Debtor. The Seller has asserted that under the Contract, the sale of the Property is to close by

May 22, 2018. The Debtor disputes that they are required to close by May 22, 2018 and out of

an excess of caution, and to avoid a default under the Contract, the Debtor has filed this petition

for Chapter 11 relief. The seller has refused the Debtor’s request to adjourn the closing.




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         4.    The Debtor’s case is being commenced in order for it to exercise its rights under

the Bankruptcy Code in order to preserve its position as a contract vendee under the Contract

         5.    No pre-petition committee was organized prior to the Order for relief.

         6.    No property of the Debtor is in the possession and control of a receiver.

         7.    The purpose of filing this petition is to preserve the assets of the Debtor and be in

a position to close on the Contract within 60 days from the Petition Date.

Dated: May 22, 2018

         8.    I declare under penalty of perjury under the laws of the United States, pursuant to

28 U.S.C. §1746, that the foregoing is true and correct.



                                      HAMILTON CENTER LLC
                                      By: GC REALTY ADVISORS, LLC AS MANAGER


                                      By: /s/ David Goldwasser
                                          DAVID GOLDWASSER, MANAGING MEMBER
                                          GC REALTY ADVISORS, LLC




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392093
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 Fill in this information to identify the case:

 Debtor name         Hamilton Center LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                 Schedule H: Codebtors (Official Form 206H)

                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          May 22, 2018                            X /s/ David Goldwasser
                                                                       Signature of individual signing on behalf of debtor

                                                                       David Goldwasser
                                                                       Printed name

                                                                       Authorized Signatory of GC Realty Advisors, LLC, Manager
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                                                                   Pg 10 of 37

 Fill in this information to identify the case:
 Debtor name Hamilton Center LLC
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF NEW                                                                                 Check if this is an
                                                YORK
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Cheim Sofer                                                                                                                                                          $1,000,000.00
 POB 665
 Harriman, NY 10926
 Cornell Realty                                                                                                                                                         $800,000.00
 Management
 Attn: Isaac Hager
 75 Huntington Street
 Brooklyn, NY 11231
 David Sofer                                                                                                                                                          $2,000,000.00
 1377 40th Street
 Brooklyn, NY 11218
 Environmental                                                                                                                                                            $15,000.00
 Business Consul.
 1808 Middle Country
 Road
 Ridge, NY 11961
 Frenkel,                                                                                                                                                               $200,000.00
 Herhskowitz &
 Shafran
 49 West 37th Street,
 9th Fl.
 New York, NY 10018
 Gramercy Property                                                                                                                                                      $112,000.00
 Advisors
 401 Broadway, Suite
 2304
 New York, NY 10013
 Joel Friedman                                                                                                                                                        $1,200,000.00
 14 Wall Street
 New York, NY 10001
 Judah A.                                                                                                                                                             $1,500,000.00
 Zelmanovitz
 3839 Flatlands Ave
 Suite 206
 Brooklyn, NY 11234




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Hamilton Center LLC                                                                                Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Langan                                                                                                                                                                     $7,000.00
 1818 Market Street
 Suite 3300
 Philadelphia, PA
 19103
 Zelig Weiss                                                                                                                                                          $2,000,000.00
 266 Broadway, #301
 Brooklyn, NY 11211




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Fill in this information to identify the case:

 Debtor name            Hamilton Center LLC

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $        8,045,000.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $        8,045,000.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$        8,834,000.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $          8,834,000.00




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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 Fill in this information to identify the case:

 Debtor name          Hamilton Center LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                      Check if this is an
                                                                                                                         amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                         12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No.   Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                     Current value of
                                                                                                                         debtor's interest

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.
 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit


            7.1.     Deposit pursuant to Agreement of Purchase and Sale.                                                         $8,045,000.00



 8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
            Description, including name of holder of prepayment


 9.         Total of Part 2.                                                                                                 $8,045,000.00
            Add lines 7 through 8. Copy the total to line 81.

 Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

       No.   Go to Part 4.
       Yes Fill in the information below.

 Part 4:           Investments
13. Does the debtor own any investments?

       No.   Go to Part 5.
       Yes Fill in the information below.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 1
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                                                                              Pg 14 of 37
 Debtor         Hamilton Center LLC                                                            Case number (If known)
                Name



 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No.    Go to Part 6.
     Yes Fill in the information below.

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No.    Go to Part 8.
     Yes Fill in the information below.

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No.    Go to Part 9.
     Yes Fill in the information below.

 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No. Go to Part 10.
     Yes Fill in the information below.
 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and           Net book value of      Valuation method used   Current value of
           property                                       extent of            debtor's interest      for current value       debtor's interest
           Include street address or other                debtor's interest    (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. Agreement of
                     Purchase and Sale,
                     as amended, to
                     purchase real
                     property located in
                     Hamilton, New
                     Jersey.                                                                 $0.00                                         Unknown




 56.       Total of Part 9.                                                                                                                   $0.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

 57.       Is a depreciation schedule available for any of the property listed in Part 9?
            No
            Yes
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 2
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 Debtor         Hamilton Center LLC                                                          Case number (If known)
                Name



 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
             No
             Yes
 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No.    Go to Part 11.
     Yes Fill in the information below.

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No.    Go to Part 12.
     Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                             page 3
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 Debtor          Hamilton Center LLC                                                                                 Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                             $8,045,000.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                         $8,045,000.00            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $8,045,000.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 4
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 Fill in this information to identify the case:

 Debtor name         Hamilton Center LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                            Check if this is an
                                                                                                                                amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                        12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

      No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
      Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                     page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Hamilton Center LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                                    Check if this is an
                                                                                                                                                       amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                       12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.

 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $1,000,000.00
           Cheim Sofer                                                        Contingent
           POB 665                                                            Unliquidated
           Harriman, NY 10926                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $800,000.00
           Cornell Realty Management                                          Contingent
           Attn: Isaac Hager                                                  Unliquidated
           75 Huntington Street                                               Disputed
           Brooklyn, NY 11231
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $2,000,000.00
           David Sofer                                                        Contingent
           1377 40th Street                                                   Unliquidated
           Brooklyn, NY 11218                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $15,000.00
           Environmental Business Consul.                                     Contingent
           1808 Middle Country Road                                           Unliquidated
           Ridge, NY 11961                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                         page 1 of 4
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 Debtor       Hamilton Center LLC                                                                     Case number (if known)
              Name

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $200,000.00
          Frenkel, Herhskowitz & Shafran                                      Contingent
          49 West 37th Street, 9th Fl.                                        Unliquidated
          New York, NY 10018                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $112,000.00
          Gramercy Property Advisors                                          Contingent
          401 Broadway, Suite 2304                                            Unliquidated
          New York, NY 10013                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          INTERNAL REVENUE SERVICE                                            Contingent
          PO BOX 7346                                                         Unliquidated
          Philadelphia, PA 19101-7346                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    FOR NOTICE PURPOSES ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $1,200,000.00
          Joel Friedman                                                       Contingent
          14 Wall Street                                                      Unliquidated
          New York, NY 10001                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $1,500,000.00
          Judah A. Zelmanovitz                                                Contingent
          3839 Flatlands Ave                                                  Unliquidated
          Suite 206                                                           Disputed
          Brooklyn, NY 11234
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,000.00
          Langan                                                              Contingent
          1818 Market Street                                                  Unliquidated
          Suite 3300                                                          Disputed
          Philadelphia, PA 19103
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          New Jersey Div. of Taxation                                         Contingent
          50 Barrack Street, 9th Floor                                        Unliquidated
          P.O. Box 245 - Bankr. Unit                                          Disputed
          Trenton, NJ 08695-0267
                                                                             Basis for the claim:    FOR NOTICE PURPOSES ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 2 of 4
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 Debtor       Hamilton Center LLC                                                                     Case number (if known)
              Name

 3.12      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                       $0.00
           NEW YORK STATE DEPT. OF FINANC                                     Contingent
           ATTN: BANKRUPTCY SPECIAL PROC                                      Unliquidated
           PO BOX 5300                                                        Disputed
           Albany, NY 12205
                                                                             Basis for the claim:    FOR NOTICE PURPOSES ONLY
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?     No  Yes
 3.13      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                       $0.00
           NYC DEPT. OF FINANCE                                               Contingent
           345 ADAMS STREET, 3RD FL.                                          Unliquidated
           ATTN: LEGAL AFFAIRS                                                Disputed
           Brooklyn, NY 11201
                                                                             Basis for the claim:    FOR NOTICE PURPOSES ONLY
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?     No  Yes
 3.14      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $2,000,000.00
           Zelig Weiss                                                        Contingent
           266 Broadway, #301                                                 Unliquidated
           Brooklyn, NY 11211                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any
 4.1       CORP. COUNSEL FOR NYC
           100 CHURCH STREET                                                                          Line      3.13
           New York, NY 10007
                                                                                                            Not listed. Explain

 4.2       New Jersey Attorney General
           Richard J. Hughes Justice Comp                                                             Line      3.11
           25 Market Street, P.O. Box 112
           Trenton, NJ 08625-0112                                                                           Not listed. Explain


 4.3       OFFICE OF THE ATTORNEY GENERAL
           28 Liberty St.                                                                             Line      3.12
           New York, NY 10005
                                                                                                            Not listed. Explain

 4.4       US ATTY OFFICE -SDNY
           86 CHAMBERS STREET                                                                         Line      3.7
           ATTN: TAX AND BANKRUPTCY
           New York, NY 10007                                                                               Not listed. Explain



 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                           Total of claim amounts
 5a. Total claims from Part 1                                                                             5a.          $                          0.00
 5b. Total claims from Part 2                                                                             5b.    +     $                  8,834,000.00

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                  5c.          $                     8,834,000.00


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 3 of 4
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 Debtor       Hamilton Center LLC                                                                Case number (if known)
              Name




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                             Page 4 of 4
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 Fill in this information to identify the case:

 Debtor name         Hamilton Center LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal             Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1.         State what the contract or                  Agreement of Purchase
              lease is for and the nature of              and Sale to purchase
              the debtor's interest                       real property located in
                                                          Hamilton, New Jersey.
                  State the term remaining                                           Suncap Trenton LLC
                                                                                     c/o Robinson, Bradhaw et al
              List the contract number of any                                        101 N. Tryon St., Suite 1900
                    government contract                                              Charlotte, NC 28246


 2.2.         State what the contract or                  Escrow Agreement
              lease is for and the nature of
              the debtor's interest

                  State the term remaining                                           Sutton Land Title Agency LLC
                                                                                     515 Rockaway Avenue
              List the contract number of any                                        Attn: Allison Luskoff
                    government contract                                              Valley Stream, NY 11581




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                            Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Hamilton Center LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                           Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                          Check all schedules
                                                                                                                                that apply:
    2.1                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State       Zip Code


    2.2                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State       Zip Code


    2.3                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State       Zip Code


    2.4                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State       Zip Code




Official Form 206H                                                            Schedule H: Your Codebtors                                     Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Hamilton Center LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                        Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                       04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

       None.
       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)
2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

       None.
                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

       None.
       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

       None.
       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 1
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 Debtor      Hamilton Center LLC                                                                           Case number (if known)



       None
       Creditor's name and address                              Describe of the Property                                       Date                 Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

       None
       Creditor's name and address                              Description of the action creditor took                        Date action was                  Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

       None.
               Case title                                       Nature of case               Court or agency's name and                Status of case
               Case number                                                                   address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

       None

 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

       None
               Recipient's name and address                     Description of the gifts or contributions                  Dates given                             Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

       None
       Description of the property lost and                     Amount of payments received for the loss                   Dates of loss            Value of property
       how the loss occurred                                                                                                                                     lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

       None.



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 2
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 Debtor        Hamilton Center LLC                                                                       Case number (if known)



                Who was paid or who received                         If not money, describe any property transferred           Dates            Total amount or
                the transfer?                                                                                                                            value
                Address
       11.1.
                Robinson Brog
                                                                                                                               5/15/18              $25,000.00

                Email or website address


                Who made the payment, if not debtor?
                Joel Friedman


       11.2.
                Robinson Brog
                                                                                                                               5/22/2018            $50,000.00

                Email or website address


                Who made the payment, if not debtor?
                Joel Friedman



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

       None.
       Name of trust or device                                       Describe any property transferred                Dates transfers           Total amount or
                                                                                                                      were made                          value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

       None.
               Who received transfer?                           Description of property transferred or                   Date transfer          Total amount or
               Address                                          payments received or debts paid in exchange              was made                        value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


       Does not apply
                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
       Yes. Fill in the information below.

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                Facility name and address                       Nature of the business operation, including type of services            If debtor provides meals
                                                                the debtor provides                                                     and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
       Yes. State the nature of the information collected and retained.
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
       Yes. Does the debtor serve as plan administrator?

 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

       None
                Financial Institution name and                  Last 4 digits of          Type of account or          Date account was              Last balance
                Address                                         account number            instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


       None
       Depository institution name and address                       Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


       None
       Facility name and address                                     Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None

 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
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      medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
       Yes. Provide details below.
       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

       None
    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
           None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

           None

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None


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       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
       Yes. Give the details about the two most recent inventories.
               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Joel Friedman                                  543 Bedford Avenue, #317                            Member                                100
                                                      Brooklyn, NY 11211

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       GC Realty Advisors LLC                         7280 West Palmetto Park Road                        Manager
                                                      Suite 203-N
                                                      Boca Raton, FL 33433


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
       Yes. Identify below.

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
       Yes. Identify below.
               Name and address of recipient                    Amount of money or description and value of              Dates              Reason for
                                                                property                                                                    providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
       Yes. Identify below.
    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
       Yes. Identify below.


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    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         May 22, 2018

 /s/ David Goldwasser                                                   David Goldwasser
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Authorized Signatory of GC Realty
                                            Advisors, LLC, Manager

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes




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                                                                     Southern District of New York
 In re       Hamilton Center LLC                                                                               Case No.
                                                                                     Debtor(s)                 Chapter      11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                  $                67,171.50
              Prior to the filing of this statement I have received                                        $                67,171.50
              Balance Due                                                                                  $                       0.00

2.     The source of the compensation paid to me was:

               Debtor                   Other (specify):           Joel Friedman

3.     The source of compensation to be paid to me is:

                 Debtor            Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.    [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                            CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     May 22, 2018                                                                    /s/ FRED B. RINGEL
     Date                                                                            FRED B. RINGEL
                                                                                     Signature of Attorney
                                                                                     ROBINSON BROG LEINWAND GREENE GENOVESE &
                                                                                     GLUCK P.C.
                                                                                     875 THIRD AVENUE
                                                                                     New York, NY 10022

                                                                                     Name of law firm




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                                                                     Southern District of New York
 In re      Hamilton Center LLC                                                                                       Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Joel Friedman                                                                        100%                                       Member
 543 Bedford Avenue, #317
 Brooklyn, NY 11211


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

         I, the Authorized Signatory of GC Realty Advisors, LLC, Manager of the corporation named as the debtor in this
case, declare under penalty of perjury that I have read the foregoing List of Equity Security Holders and that it is true and
correct to the best of my information and belief.



 Date May 22, 2018                                                           Signature /s/ David Goldwasser
                                                                                            David Goldwasser

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                               United States Bankruptcy Court
                                                                     Southern District of New York
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                                                                                   Debtor(s)              Chapter      11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Authorized Signatory of GC Realty Advisors, LLC, Manager of the corporation named as the debtor in this case, hereby verify

that the attached list of creditors is true and correct to the best of my knowledge.




 Date:       May 22, 2018                                               /s/ David Goldwasser
                                                                        David Goldwasser/Authorized Signatory of GC Realty Advisors,
                                                                        LLC, Manager
                                                                        Signer/Title




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                           CHEIM SOFER
                           POB 665
                           HARRIMAN, NY 10926


                           CORNELL REALTY MANAGEMENT
                           ATTN: ISAAC HAGER
                           75 HUNTINGTON STREET
                           BROOKLYN, NY 11231


                           CORP. COUNSEL FOR NYC
                           100 CHURCH STREET
                           NEW YORK, NY 10007


                           DAVID SOFER
                           1377 40TH STREET
                           BROOKLYN, NY 11218


                           ENVIRONMENTAL BUSINESS CONSUL.
                           1808 MIDDLE COUNTRY ROAD
                           RIDGE, NY 11961


                           FRENKEL, HERHSKOWITZ & SHAFRAN
                           49 WEST 37TH STREET, 9TH FL.
                           NEW YORK, NY 10018


                           GRAMERCY PROPERTY ADVISORS
                           401 BROADWAY, SUITE 2304
                           NEW YORK, NY 10013


                           INTERNAL REVENUE SERVICE
                           PO BOX 7346
                           PHILADELPHIA, PA 19101-7346


                           JOEL FRIEDMAN
                           14 WALL STREET
                           NEW YORK, NY 10001


                           JUDAH A. ZELMANOVITZ
                           3839 FLATLANDS AVE
                           SUITE 206
                           BROOKLYN, NY 11234
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                       LANGAN
                       1818 MARKET STREET
                       SUITE 3300
                       PHILADELPHIA, PA 19103


                       NEW JERSEY ATTORNEY GENERAL
                       RICHARD J. HUGHES JUSTICE COMP
                       25 MARKET STREET, P.O. BOX 112
                       TRENTON, NJ 08625-0112


                       NEW JERSEY DIV. OF TAXATION
                       50 BARRACK STREET, 9TH FLOOR
                       P.O. BOX 245 - BANKR. UNIT
                       TRENTON, NJ 08695-0267


                       NEW YORK STATE DEPT. OF FINANC
                       ATTN: BANKRUPTCY SPECIAL PROC
                       PO BOX 5300
                       ALBANY, NY 12205


                       NYC DEPT. OF FINANCE
                       345 ADAMS STREET, 3RD FL.
                       ATTN: LEGAL AFFAIRS
                       BROOKLYN, NY 11201


                       OFFICE OF THE ATTORNEY GENERAL
                       28 LIBERTY ST.
                       NEW YORK, NY 10005


                       SUNCAP TRENTON LLC
                       6101 CARNEGIE BLVD, SUITE 180
                       ATTN: FLINT MCNAUGHTON
                       CHARLOTTE, NC 28209


                       SUNCAP TRENTON LLC
                       C/O ROBINSON, BRADHAW ET AL
                       101 N. TRYON ST., SUITE 1900
                       CHARLOTTE, NC 28246


                       SUTTON LAND TITLE AGENCY LLC
                       515 ROCKAWAY AVENUE
                       ATTN: ALLISON LUSKOFF
                       VALLEY STREAM, NY 11581
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                       US ATTY OFFICE -SDNY
                       86 CHAMBERS STREET
                       ATTN: TAX AND BANKRUPTCY
                       NEW YORK, NY 10007


                       ZELIG WEISS
                       266 BROADWAY, #301
                       BROOKLYN, NY 11211
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                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Hamilton Center LLC in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



 None [Check if applicable]




 May 22, 2018                                                         /s/ FRED B. RINGEL
 Date                                                                 FRED B. RINGEL
                                                                      Signature of Attorney or Litigant
                                                                      Counsel for Hamilton Center LLC
                                                                      ROBINSON BROG LEINWAND GREENE GENOVESE & GLUCK P.C.
                                                                      875 THIRD AVENUE
                                                                      New York, NY 10022




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